      Case 2:24-cv-00257-MRA-JPR                  Document 6           Filed 01/10/24        Page 1 of 2 Page ID
                                                       #:140
 Name and address:
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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
JOSE VALENZUELA, individually and on behalf of all                  CASE NUMBER
others similarly situated,
                                                     PLAINTIFF(S)
                               v.

EVERI GAMES INC., and DOES 1 through 10, inclusive,
                                                                               NOTICE OF APPEARANCE OR
                                                                               WITHDRAWAL OF COUNSEL
                                                DEFENDANT(S)

                                                        INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
Withdrawal ofCounsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
 Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
 Counsel" (Form G-01) rather than this "Notice ofAppearance or Withdrawal of Counsel" (Form G-123). See Form G-Olfor
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Elizabeth A. Sperling                                                         CA Bar Number: 231474

Firm or agency: GLASER WEIL FINK HOWARD JORDAN & SHAPIRO LLP
Address: 600 W. Broadway, Suite 1080, San Diego, CA 92101

Telephone Number: (310) 556-7860                                      Fax Number:    (310) 556-2920
                       --------------                                                -------------  -
Email: esperling@glaserweil.com
Counsel of record for the following party or parties: Defendant Everi Games, Inc.
                                                         ------------------------


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                                                         #:141



Please select one of the following options:
 D       The attorney listed above ha already appeared as coun el of record in thi case and should have been added to the
         docket. The dale of the attorney's fir L appearance in this ca e:
                                                                          ---------
 □       The filing of thi form constitutes the fir t appearance in this ca e of the attorney li ted above. Other members of
         this attorney's firm or agency have previously appeared in the ca e.

 (8'J    The filing of this form con titutes the first appearance in this case of the attorney listed abov . No other members
         of this attorney's firm or agency have previously app a red in the case.

 D       By order of the court dated _________ in ca e number ___________ ( ee attached
         copy), the attorney listed above may appear in this case without applying for ad.mi Ion to practice pro hac vice.

 D       Thi case was transferred to this district by the Judicial Panel on Mu.ltidistrict Litigation ("JPML") pursuant to 28
         U.S.C. § 1407 from the _______ District of _________, where it wa assigned case number
         _________. The att rney listed above i counsel of record in this case in the transferee district, and is
         permitted by the rules of the JPML to continue to repre ent his or her client in thi district without applying for
         admi ion to practice pro hac vice and without the appointment oflocal counsel.

 D       On __________, the attorney listed above was granted permjssion to appear in this case pro hac vice
         before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation of that representation in this ca e before
         the Di trict Court.

In addition, if this is a criminal case, please check the applicable box below. The attorney listed above is:
         □      USAO    □   FPDO    O CJA Appoinbnen O Pro Bono O Retained

 SECTION ill - TO            MOVE AN ATTORNEY FROM THE DOCKET

Notices of Electronic Piling will be tenninated. Please select one of the following options:

 D       The attorney named above bas already been relieved by the Court a counsel of record in this case and should
         have been removed from the docket. Date of the order relieving this attorney: ___________

 D       Please remove the attorney named above from the docket of this case; at lea tone member of the ftrm or agency
         named above, and at least one member of the Bar of thi Court, will continue to erve as coun el of record for the
         party or partie indicated.
         (Note: ifyo11 are removing yourselffrom the docket of this case as a result of separatingfrom a firm or agency, you
         should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 (" otice of Change ofAttorney Business or Contact
         Information"), concerning your obligations to notify the Clerk and parties of changes in your business or contact
         information.)
 D       The represented party ha been di mi ed from the ca e, but the attorneys are still receiving notices of electronic
         filing. Date party was dismis�ed:

 D       The attorney named above wa · appointed on appeal and the appeal ha been adjudicated. Date the mandate wa
         filed:




 I request that the Clerk update the docket as indicated above.


                 January 10, 2024                      Signature:
        Date:

                                                         aine:      Elizabeth A. Sperling


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